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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                                 CASE:

 DOUG LONGHINI,

             Plaintiff,

   v.

 FLAGLER OFFICE BUILDING, INC.,

         Defendant.
 ___________________________________/

                                              COMPLAINT
        Plaintiff, DOUG LONGHINI, individually and on behalf of all other similarly situated

 mobility-impaired individuals (hereinafter “Plaintiff”), sues FLAGLER OFFICE BUILDING,

 INC. (hereinafter “Defendant”), and as grounds alleges:

                              JURISDICTION, PARTIES. AND VENUE

        1.           This is an action for injunctive relief, a declaration of rights, attorneys' fees,

 litigation expenses, and costs pursuant to 42 U.S.C. § 12181, et seq., (the “Americans with

 Disabilities Act” or “ADA”) and 28 U.S.C. §§ 2201 and 2202. The Court has original jurisdiction

 over Plaintiff’s claims arising under 42 U.S.C. § 12181, et seq. pursuant to 28 U.S.C. §§ 1331 and

 1343 and 42 U.S.C. § 12117(a).

        2.           The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 2201 and

 2202, and may render declaratory judgment on the existence or nonexistence of any right under 42

 U.S.C. § 12181, et seq.

        3.           Plaintiff, DOUG LONGHINI, I s an individual over eighteen years of age, with a

 residence in Miami-Dade County, Florida, and is otherwise sui juris.

        4.           At all times material, Defendant, FLAGLER OFFICE BUILDING, INC., was and
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 is a Florida Profit Corporation, with its principal place of business, agents, officers and/or offices

 in Miami, Florida.

        5.            At all times material, Defendant, FLAGLER OFFICE BUILDING, INC., owned

 a commercial office building located at 8360 W Flagler Street, Miami, Florida (the “Commercial

 Property”).

        6.            Venue is properly located in the Southern District of Florida because Defendant’s

 Commercial Property that is the subject of this Action, is located in Miami-Dade, Florida, and

 Defendant regularly conducts business within Miami-Dade County, Florida, and because a

 substantial part(s) of the events or omissions giving rise to these claims occurred in Miami-Dade

 County, Florida at the Commercial Property.

                                       FACTUAL ALLEGATIONS

        7.            Although over twenty-seven (27) years have passed since the effective date of

 Title III of the ADA, Defendant has yet to make its Commercial Property accessible to individuals

 with disabilities.

         8.           Congress provided commercial businesses one and a half years to implement the

 Act. The effective date was January 26, 1992. In spite of this abundant lead-time and the

 extensive publicity the ADA has received since 1990, Defendant continues to discriminate against

 people who are disabled in ways that block them from access and use of Defendant’s Commercial

 Property and the businesses therein.

        9.            The ADA prohibits discrimination on the basis of disability in 28 CFR 36.201 and

 requires landlords and tenants to be liable for compliance

        10.           Plaintiff, DOUG LONGHINI, is an individual with disabilities as defined by and

 pursuant to the ADA. DOUG LONGHINI uses a wheelchair to ambulate. DOUG LONGHINI



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 has very limited use of his hands and cannot operate any mechanisms which require tight grasping

 or twisting of the wrist. He also has a great deal of trouble walking or otherwise ambulating

 without the use of a wheelchair. He is limited in his major life activities by such, including but

 not limited to walking, standing, grabbing, grasping and/or pinching.

        11.       Defendant, owns and operates the Commercial Property which is located in

 Miami, Florida that are the subject of this Action. The subject Commercial Property and the

 businesses located therein are open to the public, contain a myriad of different businesses that pay

 Defendants rent and are all located in Miami, Florida.

        12.       The individual Plaintiff frequently visits the Commercial Property and tenant

 businesses (including the related parking lots and common areas) to include visits on or about

 January 31, 2018, October 13, 2018 and September 20, 2019, and encountered multiple violations

 of the ADA that directly affected his ability to use and enjoy the Commercial Property and

 businesses therein. He often visits the Commercial Property and businesses therein, when he is

 in the area visiting family and friends that reside nearby, and has definite plans to return to the

 Commercial Property within one (1) month of the filing of this Complaint in order to avail himself

 of the goods and services offered to the public at the Commercial Property, if it becomes

 accessible. Plaintiff visited two accounting and tax service providers within the commercial

 property.

        13.      Plaintiff visited the Commercial Property and businesses located therein as a

 patron/customer, and intends to return to the Commercial Property in order to avail himself of the

 goods and services offered to the public at the Commercial Property. Plaintiff resides near the

 Commercial Property, approximately eleven (11) miles from the Commercial Property, in the same

 state and county as the Commercial Property, regularly frequents the Defendants’ Commercial



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 Property for its intended purposes, and intends to return to the Commercial Property within one

 (1) month’s time.


        14.      The Plaintiff found the Commercial Property to be rife with ADA violations.

 The Plaintiff encountered architectural barriers at the subject Commercial Property, and wishes to

 continue his patronage and use of the Commercial Property and the business therein.

        15.      The Plaintiff, DOUG LONGHINI, has encountered architectural barriers that are

 in violation of the ADA, at the Commercial Property. The barriers to access at Defendant’s

 Commercial Property have each denied or diminished Plaintiff’s ability to visit the Commercial

 Property and businesses therein and likewise endangered his safety. The barriers to access, which

 are set forth below, have accordingly posed a risk of injury(ies), embarrassment, and discomfort

 to Plaintiff, DOUG LONGHINI, and others similarly situated.

        16.      Defendant owns and operates a place of public accommodation as defined by the

 ADA and the regulations implementing the ADA, 28 CFR 36.201 (a) and 36.104. Defendant is

 responsible for complying with the obligations of the ADA. The place of public accommodation

 (the buildings and business property that is the subject of this Action for their violations of the

 ADA) that Defendant owns and operates, is the Commercial Property referenced above.

        17.      Plaintiff, DOUG LONGHINI, has a realistic, credible, existing and continuing

 threat of discrimination from the Defendant’s non-compliance with the ADA with respect to the

 described Commercial Property, including, but not necessarily limited to the allegations in

 Paragraph 19 of this Complaint. Plaintiff has reasonable grounds to believe that he will continue

 to be subjected to discrimination at the Commercial Property and businesses therein which are

 open to the public and in violation of the ADA. Plaintiff desires to visit the Commercial Property

 not only to avail himself of the goods and services available at the Commercial Property, but to

 also assure himself that this Commercial Property is in compliance with the ADA, so that he and



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     others similarly situated will have full and equal enjoyment of the Commercial Property without

     fear of discrimination.

            18.       Defendant has discriminated against the individual Plaintiff by denying him

     access to, and full and equal enjoyment of, the goods, services, facilities, privileges, advantages

     and/or accommodations of the properties the businesses thereon, in a manner prohibited by 42

     U.S.C. § 12182 et seq.

            19.       Defendant has discriminated, and continues to discriminate, against Plaintiff in

     violation of the ADA by failing, inter alia, to have accessible facilities by January 26, 1992 (or

     January 26, 1993, if a Defendant has 10 or fewer employees and gross receipts of $500,000 or

     less). A list of the violations that Plaintiff encountered during his visit to the Defendant’s

     Commercial Property and businesses therein, include, but are not limited to, the following:

     Common Areas

            A. Parking

i.      The required number of accessible parking spaces is not provided, violating Section 4.1.2(5a)

        and 4.6.1 of the ADAAG and Section 208.2.4 of the 2010 ADA Standards, whose resolution

        is readily achievable.

            B. Entrance Access and Path of Travel

i.      The Plaintiff could not safely enter the building. The only paths of travel are a staircase or

        down a vehicular way. Violation: There is no accessible path of travel with access or egress

        into the building for people in wheelchairs, violating Sections 4.3.2(1) and 4.14.1 of the

        ADAAG and Sections 206.2.1 and 207 of the 2010 ADA Standards.

            C. Public Restrooms

i.      The Plaintiff had difficulty using the urinals as the rims are mounted too high. Violation: There

        are urinals provided for public use that do not comply with the standards set forth in Section

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         4.18.2 of the ADAAG and Section 605.2 of the 2010 ADA Standards, whose resolution is

         readily achievable.

ii.      The Plaintiff could not close the accessible toilet compartment door without assistance, as it is

         not self-closing and does not have compliant door hardware. Violation: The accessible toilet

         compartment door does not provide hardware and features that comply with Sections 4.17.5

         and 4.13.9 of the ADAAG and Sections 309.4 and 604.8.1.2 of the 2010 ADA Standards,

         whose resolution is readily achievable.

iii.     The Plaintiff could not exit the accessible toilet compartment without assistance, as the

         required maneuvering clearance is not provided. Violation: The accessible toilet compartment

         does not provide the required latch side clearance at the door violating Sections 4.13.6 and

         4.17.5 of the ADAAG and Sections 404.2.4 and 604.8.1.2 of the 2010 ADA Standards, whose

         resolution is readily achievable.

iv.      The Plaintiff was exposed to a cutting/burning hazard because the lavatory pipes are not

         wrapped. Violation: The lavatory pipes are not fully wrapped or maintained violating Section

         4.19.4 of the ADAAG and Section 606.5 of the 2010 ADA Standards, whose resolution is

         readily achievable.

             20.      The discriminatory violations described in Paragraph 19 are not an exclusive list

      of the Defendant’s ADA violations. Plaintiff requests an inspection of the Defendant’s place of

      public accommodation in order to photograph and measure all of the discriminatory acts violating

      the ADA and barriers to access in conjunction with Rule 34 and timely notice. Plaintiff further

      requests to inspect any and all barriers to access that were concealed by virtue of the barriers'

      presence, which prevented Plaintiff, DOUG LONGHINI, from further ingress, use, and equal

      enjoyment of the Commercial Property and businesses therein; Plaintiff requests to be physically



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 present at such inspection in conjunction with Rule 34 and timely notice.


        21.          The individual Plaintiff, and all other individuals similarly situated, have been

 denied access to, and have been denied full and equal enjoyment of the goods, services, facilities

 privileges, benefits, programs and activities offered by Defendant, Defendant’s buildings, the

 businesses and facilities therein; and have otherwise been discriminated against and damaged by

 the Defendant because of the Defendant’s ADA violations as set forth above. The individual

 Plaintiff, and all others similarly situated, will continue to suffer such discrimination, injury and

 damage without the immediate relief provided by the ADA as requested herein. In order to remedy

 this discriminatory situation, the Plaintiff requires an inspection of the Defendant’s place of public

 accommodation in order to determine all of the areas of non-compliance with the Americans with

 Disabilities Act.

        22.          Defendant has discriminated against the individual Plaintiff by denying him

 access to full and equal enjoyment of the goods, services, facilities, privileges, advantages and/or

 accommodations of its place of public accommodation or commercial facility, in violation of 42

 U.S.C. § 12181 et seq. and 28 CFR 36.302 et seq. Furthermore, the Defendant continues to

 discriminate against Plaintiff, and all those similarly situated, by failing to make reasonable

 modifications in policies, practices or procedures, when such modifications are necessary to afford

 all offered goods,          services,   facilities, privileges, advantages or accommodations to

 individuals with disabilities; and by failing to take such efforts that may be necessary to ensure

 that no individual with a disability is excluded, denied services, segregated or otherwise treated

 differently than other individuals because of the absence of auxiliary aids and services.

        23.          Plaintiff is without adequate remedy at law, will suffer irreparable harm, and has

 a clear legal right to the relief sought. Further, injunctive relief will serve the public interest and

 all those similarly situated to Plaintiff. Plaintiff has retained the undersigned counsel and is



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 entitled to recover attorneys’ fees, costs and litigation expenses from Defendant pursuant to 42

 U.S.C. § 12205 and 28 CFR 36.505.

        24.        A Defendant is required to remove the existing architectural barriers to the

 physically disabled when such removal is readily achievable for their place of public

 accommodation, the Plaintiff and those similarly situated, will continue to suffer such

 discrimination, injury and damage without the immediate relief provided by the ADA as requested

 herein. In order to remedy this discriminatory situation, the Plaintiff require an inspection of the

 Defendant’s place of public accommodation in order to determine all of the areas of non-

 compliance with the Americans with Disabilities Act.

        25.        Notice to Defendant is not required as a result of the Defendant’s failure to cure

 the violations by January 26, 1992 (or January 26, 1993, if a Defendant has 10 or fewer employees

 and gross receipts of $500,000 or less). All other conditions precedent have been met by Plaintiff

 or waived by the Defendant.

        26.        Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

 Plaintiff Injunctive Relief, including an order to alter the Commercial Property owned and

 operated by the Defendant, located in Miami, Florida, the interiors, exterior areas, and the common

 exterior areas of the property and businesses therein to make those facilities readily accessible and

 useable to the Plaintiff and all other mobility-impaired persons; or by closing the facility until such

 time as the Defendants cures their violations of the ADA.

        WHEREFORE, the Plaintiff, DOUG LONGHINI, respectfully requests that this Honorable

 Court issue (i) a Declaratory Judgment determining Defendant at the commencement of the subject

 lawsuit is in violation of Title III of the Americans with Disabilities Act, 42 U.S.C. § 12181 et

 seq.; (ii) Injunctive relief against Defendant including an order to make all readily achievable

 alterations to the facilities; or to make such facilities readily accessible to and usable by individuals

 with disabilities to the extent required by the ADA; and to require Defendant to make reasonable

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 modifications in policies, practices or procedures, when such modifications are necessary to afford

 all offered goods, services, facilities, privileges, advantages or accommodations to individuals with

 disabilities; and by failing to take such steps that may be necessary to ensure that no individual

 with a disability is excluded, denied services, segregated or otherwise treated differently than other

 individuals because of the absence of auxiliary aids and services; (iii) An award of attorneys’ fees,

 costs and litigation expenses pursuant to 42 U.S.C. § 12205; and (iv) such other relief as the Court

 deems just and proper, and/or is allowable under Title III of the Americans with Disabilities Act.

 Dated: October 11th, 2019

                                                GARCIA-MENOCAL & PEREZ, P.L.

                                                Attorneys for Plaintiff
                                                4937 S.W. 74th Court, No. 3
                                                Miami, FL 33155
                                                Telephone: (305) 553-3464
                                                Facsimile: (305) 553-3031
                                                Primary E-Mail: ajperezlaw@gmail.com
                                                Secondary E-Mail: bvirues@lawgmp.com
                                                                    aquezada@lawgmp.com


                                                By: /s/ Anthony J. Perez
                                                      ANTHONY J. PEREZ
                                                      Florida Bar No.: 535451




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